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                                       UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA

       Angela E. Noble                                                                               400 North Miami Avenue, Suite 8N09
Court Administrator • Clerk of Court                                                                           Miami, Florida 33128-7716
                                                                                                                    (305) 523-5100

                                                            June 3, 2025


         Dear Counsel:

                 As you know, your names appear on the service list of a document filed with this Court in
         Case #25-CV-22508-CMA. Our records, however, indicate that you are not members of the
         Southern District of Florida Bar. Pursuant to Local Rule 4(b) of the Rules Governing the
         Admission, Practice, Peer Review, and Discipline of Attorneys, only members of the Bar of this
         District may appear as attorneys in this Court except when appearance pro hac vice is permitted
         by the Court.

                 In order to appear and participate in a particular case in this Court, you must be an attorney
         who is a member in good standing of the bar of any United States Court, or of the highest Court
         of any State or Territory or Insular Possession of the United States. You are then required to file
         a written application, electronically filed by counsel admitted to practice in this District, requesting
         permission to appear and participate in a particular case. A certification that you have studied this
         Court’s Local Rules shall accompany the application. If permission to appear pro hac vice is
         granted, such appearance does not constitute formal admission, nor does it authorize you to file
         documents via CM/ECF.

                 The Rule also requires that the application designate a member of the Bar of this Court
         who is authorized to file through the Court’s electronic filing system, to act as local counsel with
         whom the Court and opposing counsel may readily communicate regarding the conduct of the
         case, upon whom filings shall be served, who shall be required to electronically file and serve all
         documents and things that may be filed and served electronically, and who shall be responsible for
         filing and serving documents in compliance with the CM/ECF Administrative Procedures. The
         Rule further requires that the application be accompanied by a written statement from local counsel
         consenting to the designation, and the address and telephone number of local counsel.

                 An attorney who is granted a pro hac vice appearance will not be permitted to register as a
         CM/ECF User in this District but may access the electronic record through the PACER System
         (see Section 7B of the Administrative Procedures on our website [www.flsd.uscourts.gov]).
         Attorneys admitted pro hac vice will be required to electronically file and serve all
         documents through their local counsel. An application to appear pro hac vice must be
         electronically filed by local counsel, along with the applicable filing fee, via CM/ECF. Although
         attorneys granted pro hac vice appearance will not be permitted to file electronically, the attorney
         admitted pro hac vice will be able to electronically receive Notices of Electronic Filing. Such
         requests should be included in your application to appear pro hac vice and in the accompanying



             “It is our honor and duty to provide the support necessary to enable the Court as an institution to fulfill its
                           constitutional, statutory, and societal responsibilities for all who seek justice.”
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 proposed order. The e-mail address for the attorney(s) seeking admission must be provided in
 both the motion and proposed order in order to receive electronic notices. Please note the Court
 does not add secondary email addresses for pro hac vice attorneys. Pro hac vice attorneys
 should instruct their local counsel to add secondary email addresses to local counsel’s
 CM/ECF account.

        Administrative Order 2024-91 provides that an admissions fee of $250.00 is to be paid by
 every attorney petitioning the Court to appear and participate in a particular case under Rule 4(b).
 The fee must be paid by local counsel in conjunction with the filing of your motion to appear pro
 hac vice and certification.

        A form motion for appearance pro hac vice can be downloaded from our website at
 www.flsd.uscourts.gov, Attorney Resources, Pro Hac Vice Appearance. If you have any
 questions, you may contact Attorney Admissions at (305) 523-5265 or the CM/ECF Help Desk at
 (888) 318-2260.

                                               Sincerely,

                                               ANGELA E. NOBLE
                                               Court Administrator · Clerk of Court

                                               by:    Deputy Clerk
                                                      Attorney Admissions


 c:     Chief United States District Judge Cecilia M. Altonaga
        Service List
        File
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                                         SERVICE LIST
                                    Case # 25-CV-22508-CMA


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